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                                       ARSLAN IJAZ (10),


did knowingly combine, conspire, and agree with each other and with other persons known

and unknown to the Grand Jury to commit offenses against the United States in violation of

Title 18, United States Code, Section 1956, to knowingly conduct and attempt to conduct

financial transactions affecting interstate and foreign commerce, which transactions involved

property represented by a law enforcement officer and person at the direction of a law

enforcement officer to be proceeds of specified unlawful activity, to wit: Distribution of a

Controlled Substance in violation of 21 U.SC. §841, knowing that the transactions were

designed in whole or in part to conceal and disguise the nature, location, source, ownership,

and control of the proceeds of specified unlawful activity, and that while conducting and

attempting to conduct such financial transactions, believed that the property involved in the

financial transactions represented the proceeds of some form of unlawful activity in violation

of Title 18, United States Code, Section 1956(a)(3)(B).

         All in violation of Title 18, United States Code, Section 1956(h).

                               OBJECT OF THE CONSPIRACY

   1. The object of the conspiracy was to enrich the conspirators by laundering what they

believed were proceeds of the sale of controlled substances in exchange for a portion of those

funds.

                       MANNER AND MEANS OF THE CONSPIRACY

   2. The conspiracy was carried out in the following manner and means, amongst others:

   3. The defendants owned, had access to, or knew someone who had access to bank accounts

associated with ostensibly legitimate businesses, or personal bank accounts with significant

liquidity to launder money.
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   4. The defendants agreed to launder bulk cash they received from undercover law

enforcement officers who posed as dealers of heroin and other controlled substances by returning

a portion of the money via cashier’s checks, business and personal checks, or wire transfers, and

keeping a portion of the money as their fee.

   5. Certain defendants, such as CADENA, CHRIS GUTIERREZ, GAMBOA JR. and

IJAZ, requested that the undercover officers provide them with falsified invoices as justification

for payments to covert bank accounts controlled by the Government.

   6. Certain defendants, such as GAMBOA JR., YAO, and IJAZ, proposed laundering money

for the undercover officers through the purchase and sale of real estate.

   7. On or about March 7, 2023, GAMBOA JR. proposed selling a residence he owned in San

Antonio, located at 31 Via Aragon, to undercover officers as a means of converting what he

believed to be heroin proceeds into a clean asset.

   8. The defendants’ financial transactions and attempted financial transactions include the

following:

             a. On or about May 17, 2022, CHRIS GUTIERREZ obtained a cashier’s check

                issued by Frost Bank from “RC Elite Construction” for $22,750 payable to a covert

                bank account.

             b. On or about August 19, 2022, CHRIS GUTIERREZ sent a wire transfer through

                Frost Bank from “Chris V Gutierrez DBA CVG” for $35,850 to a covert bank

                account.

             c. On or about September 13, 2022,                                provided undercover

                officers with a postdated check

                                           payable to a covert bank account.
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  d. On or about September 16, 2022, CADENA sent a wire transfer through PNC Bank

     from “Joint Venture Smoke Shop” for $19,760 to a covert bank account.

  e. On or about September 27, 2022, GAMBOA SR. obtained a cashier’s check issued

     by PNC Bank from “Gamboa Management LLC” for $46,000 payable to a covert

     bank account.

  f. On or about October 5, 2022, YAO provided undercover officers with a postdated

     check issued by Bank of America from “Yao 1 Corporation” for $25,500 payable

     to a covert bank account. The memo line read “Granite [illegible]”.

  g. On or about October 25, 2022, IJAZ sent a wire transfer through NavyArmy

     Community Credit Union from “Chaki Walia Enterprises LLC” for $45,500 to a

     covert bank account.

  h. On or about November 7, 2022, GARCIA aided and abetted the sending of a wire

     transfer through PlainsCapital Bank from “Struxture Home Design, LLC” for

     $11,000 to a covert bank account.

  i. On or about December 1, 2022, GAMBOA SR. provided a check to another person

     issued by 1 FirstBank from “Jorge E Gamboa Y/O Klarissa Gamboa” for $89,000

     payable to a covert bank account. The memo line read “Loan Reimbursement”.

  j. On or about December 1, 2022, YAO provided a check to another person issued by

     Bank of America from “Yao 1 Corporation” for $18,200 payable to a covert bank

     account. The memo line read “Tiles & Stone for 197[illegible]”.

  k. On or about March 7, 2023, GAMBOA JR. provided undercover officers with a

     cashier’s check issued by Security Service Federal Credit Union from an account
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               in his name for $180,000 payable to a covert bank account.

           l. On or about May 31, 2023, GAMBOA JR. provided undercover officers with a

               cashier’s check issued by Security Service Federal Credit Union from an account

               in his name for $207,000 payable to a covert bank account.

           m. On or about June 28, 2023, GAMBOA JR. provided undercover officers with a

               cashier’s check issued by Security Service Federal Credit Union from an account

               in his name for $178,000 payable to a covert bank account.

       All in violation of Title 18, United States Code, Sections 1956(h) and 1956(a)(3)(B).

                                         COUNT TWO
                                 [18 U.S.C. §§ 1956(a)(3)(B), 2]

       On or about May 17, 2022, in the Western District of Texas, Defendants

                                 SHAWN GUTIERREZ (2) and
                                   CHRIS GUTIERREZ (3),

aiding and abetting each other, with the intent to conceal and disguise the nature, source, ownership

and control of property, believed to be the proceeds of specified unlawful activity, did knowingly

conduct and attempt to conduct a financial transaction affecting interstate or foreign commerce

involving property represented by a law enforcement officer and a person at the direction of a law

enforcement officer to be proceeds of specified unlawful activity, to wit: Distribution of a

Controlled Substance, in violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

                                       COUNT THREE
                                 [18 U.S.C. §§ 1956(a)(3)(B), 2]

       On or about August 19, 2022, in the Western District of Texas, Defendants

                                 SHAWN GUTIERREZ (2) and
                                   CHRIS GUTIERREZ (3),
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aiding and abetting each other, with the intent to conceal and disguise the nature, source, ownership

and control of property, believed to be the proceeds of specified unlawful activity, did knowingly

conduct and attempt to conduct a financial transaction affecting interstate or foreign commerce

involving property represented by a law enforcement officer and a person at the direction of a law

enforcement officer to be proceeds of specified unlawful activity, to wit: Distribution of a

Controlled Substance, in violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

                                        COUNT FOUR
                                 [18 U.S.C. §§ 1956(a)(3)(B), 2]

       On or about September 13, 2022, in the Western District of Texas, Defendants




aiding and abetting each other, with the intent to conceal and disguise the nature, source, ownership

and control of property, believed to be the proceeds of specified unlawful activity, did knowingly

conduct and attempt to conduct a financial transaction affecting interstate or foreign commerce

involving property represented by a law enforcement officer and a person at the direction of a law

enforcement officer to be proceeds of specified unlawful activity, to wit: Distribution of a

Controlled Substance, in violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

                                         COUNT FIVE
                                   [18 U.S.C. § 1956(a)(3)(B)]

       On or about September 16, 2022, in the Western District of Texas, Defendant

                                    RAMSEY CADENA (1),

with the intent to conceal and disguise the nature, source, ownership and control of property,

believed to be the proceeds of specified unlawful activity, did knowingly conduct and attempt to

conduct a financial transaction affecting interstate or foreign commerce involving property

represented by a law enforcement officer and a person at the direction of a law enforcement officer
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to be proceeds of specified unlawful activity, to wit: Distribution of a Controlled Substance, in

violation of Title 18, United States Code, Section 1956(a)(3)(B).

                                         COUNT SIX
                                 [18 U.S.C. §§ 1956(a)(3)(B), 2]

       On or about September 27, 2022, in the Western District of Texas, Defendants

                               JORGE E. GAMBOA JR. (4) and
                                JORGE A. GAMBOA SR. (5),

aiding and abetting each other, with the intent to conceal and disguise the nature, source, ownership

and control of property, believed to be the proceeds of specified unlawful activity, did knowingly

conduct and attempt to conduct a financial transaction affecting interstate or foreign commerce

involving property represented by a law enforcement officer and a person at the direction of a law

enforcement officer to be proceeds of specified unlawful activity, to wit: Distribution of a

Controlled Substance, in violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

                                       COUNT SEVEN
                                 [18 U.S.C. §§ 1956(a)(3)(B), 2]

       On or about October 5, 2022, in the Western District of Texas, Defendants

                                  RAMSEY CADENA (1) and
                                  YAO YAO aka “MIKE” (6),

aiding and abetting each other, with the intent to conceal and disguise the nature, source, ownership

and control of property, believed to be the proceeds of specified unlawful activity, did knowingly

conduct and attempt to conduct a financial transaction affecting interstate or foreign commerce

involving property represented by a law enforcement officer and a person at the direction of a law

enforcement officer to be proceeds of specified unlawful activity, to wit: Distribution of a

Controlled Substance, in violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

                                       COUNT EIGHT
                                 [18 U.S.C. §§ 1956(a)(3)(B), 2]
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       On or about October 5, 2022, in the Western District of Texas, Defendants




aiding and abetting each other, with the intent to conceal and disguise the nature, source, ownership

and control of property, believed to be the proceeds of specified unlawful activity, did knowingly

conduct and attempt to conduct a financial transaction affecting interstate or foreign commerce

involving property represented by a law enforcement officer and a person at the direction of a law

enforcement officer to be proceeds of specified unlawful activity, to wit: Distribution of a

Controlled Substance, in violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

                                        COUNT NINE
                                 [18 U.S.C. §§ 1956(a)(3)(B), 2]

       On or about October 25, 2022, in the Western District of Texas, Defendants

                                  RAMSEY CADENA (1) and
                                    ARSLAN IJAZ (10),

aiding and abetting each other, with the intent to conceal and disguise the nature, source, ownership

and control of property, believed to be the proceeds of specified unlawful activity, did knowingly

conduct and attempt to conduct a financial transaction affecting interstate or foreign commerce

involving property represented by a law enforcement officer and a person at the direction of a law

enforcement officer to be proceeds of specified unlawful activity, to wit: Distribution of a

Controlled Substance, in violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

                                         COUNT TEN
                                 [18 U.S.C. §§ 1956(a)(3)(B), 2]

       On or about November 7, 2022, in the Western District of Texas, Defendants

                                    CAROL A. GARCIA (7),
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aiding and abetting each other, with the intent to conceal and disguise the nature, source, ownership

and control of property, believed to be the proceeds of specified unlawful activity, did knowingly

conduct and attempt to conduct a financial transaction affecting interstate or foreign commerce

involving property represented by a law enforcement officer and a person at the direction of a law

enforcement officer to be proceeds of specified unlawful activity, to wit: Distribution of a

Controlled Substance, in violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

                                      COUNT ELEVEN
                                 [18 U.S.C. §§ 1956(a)(3)(B), 2]

       On or about December 1, 2022, in the Western District of Texas, Defendants

                               JORGE E. GAMBOA JR. (4) and
                                JORGE A. GAMBOA SR. (5),

aiding and abetting each other, with the intent to conceal and disguise the nature, source, ownership

and control of property, believed to be the proceeds of specified unlawful activity, did knowingly

conduct and attempt to conduct a financial transaction affecting interstate or foreign commerce

involving property represented by a law enforcement officer and a person at the direction of a law

enforcement officer to be proceeds of specified unlawful activity, to wit: Distribution of a

Controlled Substance, in violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

                                      COUNT TWELVE
                                 [18 U.S.C. §§ 1956(a)(3)(B), 2]

       On or about December 2, 2022, in the Western District of Texas, Defendants

                                  RAMSEY CADENA (1) and
                                  YAO YAO aka “MIKE” (6),

aiding and abetting each other, with the intent to conceal and disguise the nature, source, ownership

and control of property, believed to be the proceeds of specified unlawful activity, did knowingly

conduct and attempt to conduct a financial transaction affecting interstate or foreign commerce
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involving property represented by a law enforcement officer and a person at the direction of a law

enforcement officer to be proceeds of specified unlawful activity, to wit: Distribution of a

Controlled Substance, in violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

                                     COUNT THIRTEEN
                                   [18 U.S.C. § 1956(a)(3)(B)]

       On or about March 7, 2023, in the Western District of Texas, Defendant

                                 JORGE E. GAMBOA JR. (4),

with the intent to conceal and disguise the nature, source, ownership and control of property,

believed to be the proceeds of specified unlawful activity, did knowingly conduct and attempt to

conduct a financial transaction affecting interstate or foreign commerce involving property

represented by a law enforcement officer and a person at the direction of a law enforcement officer

to be proceeds of specified unlawful activity, to wit: Distribution of a Controlled Substance, in

violation of Title 18, United States Code, Section 1956(a)(3)(B).

                                     COUNT FOURTEEN
                                   [18 U.S.C. § 1956(a)(3)(B)]

       On or about May 31, 2023, in the Western District of Texas, Defendant

                                 JORGE E. GAMBOA JR. (4),

with the intent to conceal and disguise the nature, source, ownership and control of property,

believed to be the proceeds of specified unlawful activity, did knowingly conduct and attempt to

conduct a financial transaction affecting interstate or foreign commerce involving property

represented by a law enforcement officer and a person at the direction of a law enforcement officer

to be proceeds of specified unlawful activity, to wit: Distribution of a Controlled Substance, in

violation of Title 18, United States Code, Section 1956(a)(3)(B).

                                       COUNT FIFTEEN
                                   [18 U.S.C. § 1956(a)(3)(B)]
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       On or about June 28, 2023, in the Western District of Texas, Defendant

                                 JORGE E. GAMBOA JR. (4),

with the intent to conceal and disguise the nature, source, ownership and control of property,

believed to be the proceeds of specified unlawful activity, did knowingly conduct and attempt to

conduct a financial transaction affecting interstate or foreign commerce involving property

represented by a law enforcement officer and a person at the direction of a law enforcement officer

to be proceeds of specified unlawful activity, to wit: Distribution of a Controlled Substance, in

violation of Title 18, United States Code, Section 1956(a)(3)(B).

    NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE

       This Notice of Demand for Forfeiture includes but is not limited to the real and personal

properties described in Paragraph II.

                                               I.
                    Money Laundering Violations and Forfeiture Statutes
                 [Title 18 U.S.C. § 1956(a)(3)(B) and (h), subject to forfeiture
                            pursuant to Title 18 U.S.C. § 982(a)(1)]

       As a result of the criminal violations set forth in Counts One through Fifteen, the United

States of America gives notice to the Defendants of its intent to seek the forfeiture of the real and

personal properties described below upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title

18 U.S.C. § 982(a)(1), which states:

       Title 18 U.S.C. § 982. Criminal forfeiture
           (a)(1) The court, in imposing sentence on a person convicted of an offense in
           violation of section 1956, 1957 or 1960 of this title, shall order that the person
           forfeit to the United States any property, real or personal, involved in such
           offense, or any property traceable to such property.
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                                               II.
                                       Subject Properties

Real Property:

       31 Via Aragon, San Antonio, TX 78257, described as Lot 9, Block 27, New City Block
16385, Brenthurst at the Dominion.

Bank Accounts:
   1. Funds seized from Security Service Federal Credit Union bank account 4830020171 for
       Jorge E. Gamboa
   2. Funds seized from 1First Bank of Puerto Rico bank account 8090064191 for Jorge E.
       Gamboa
Money Judgment:

        A sum of money equal to Four Million Seven Hundred Seventy-Five Thousand and No/100
Dollars ($4,775,000) representing the amount of property involved in or traceable to the violations
set forth in the Counts referenced above for which each Defendant is solely liable.


Substitute Assets:

        If any of the property described above as being subject to forfeiture for the violations set
forth above, as a result of any act or omission of the Defendants:

               a.      cannot be located upon the exercise of due diligence;
               b.      has been transferred or sold to, or deposited with, a third party;
               c.      has been placed beyond the jurisdiction of the Court;
               d.      has been substantially diminished in value; or
               e.      has been commingled with other property which cannot be divided without
                       difficulty;

it is the intent of the United States of America to seek forfeiture of any other property owned by
Defendants up to the value of the money judgment as substitute assets pursuant to Title 21 U.S.C
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§ 853(p) and Fed. R. Crim. P. 32.2(e)(1).



                                            A TRUE BILL.


                                            FOREPERSON OF THE GRAND JURY

JAIME ESPARZA
UNITED STATES ATTORNEY


BY:    ____________________________
       FOR ERIC YUEN
       Assistant United States Attorney
